Case 2:20-cv-04790-JWH-RAO Document 121 Filed 06/24/22 Page 1 of 1 Page ID #:1175



                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES -
                                      GENERAL

    Case No.       CV 20-04790-JWH(RAOx)                                Date   June 24, 2022
    Title     The PLS.com, LLC v The National Association of Realtors, et al


    Present: The Honorable       JOHN W. HOLCOMB, UNITED STATES DISTRICT JUDGE
                Deborah Lewman                                         Sharon Seffens
                  Deputy Clerk                                         Court Reporter
      Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):

             Christopher M. Sheehan                                     Ethan Glass
                 Douglas Litvack                                      Michael Bonanno
                                                                      Brian Schneider
                                                                       Robert Hicks

  Proceedings:        VIDEO HEARING RE: SCHEDULING CONFERENCE

         Counsel state their appearances. The Court will issue its revised Standing
  Order. The Court adopts the proposed schedule contained in the parties’ Joint
  Report [ECF No. 118]. Counsel are DIRECTED to file a Stipulation setting a
  briefing schedule and hearing date for dispositive motions, as well as a proposed
  deadline to complete private mediation (ADR No. 3). The Court defers setting a
  Final Pretrial Conference and Jury Trial until after the Court’s ruling on the
  anticipated dispositive motions. The Court will issue a separate scheduling order.

            IT IS SO ORDERED.




                                                                                           Time: 00:23
                                                                                Initials of Preparer: djl
